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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



  NETLIST, INC.,                              Civil Case No. 2:21cv463-JRG

              Plaintiff,                      JURY TRIAL DEMANDED

  v.

  SAMSUNG ELECTRONICS CO., LTD.,
  SAMSUNG ELECTRONICS AMERICA, INC.
  and SAMSUNG SEMICONDUCTOR, INC.,

              Defendants.



          SAMSUNG’S MOTION FOR SUMMARY JUDGMENT THAT ALL
        ACCUSED PRODUCTS SOLD BEFORE JULY 15, 2020 ARE LICENSED
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     3.         Excerpts from Netlist’s Opposition to Samsung’s Motion for Summary
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                Samsung Electronics Co., Ltd., No. 8:20-cv-00993-MCS (C.D. Cal.), Dkt. No.
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     4.         Excerpts from Netlist’s Statement of Genuine Disputes of Material Facts,
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     11.        Excerpts from Samsung 2022 Interim Business Report, bearing bates numbers
                SAM-NET00407110-16
     12.        Excerpts from the Deposition Transcript of Gail Sasaki, taken August 5, 2022
     13.        Netlist JDLA Termination Letter, bearing bates numbers
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     27.        Excerpts from Netlist’s Second Supplemental Responses and Objections to
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     28.        Samsung HBM Flashbolt webpage, bearing bates numbers
                NETLIST_SAMSUNG_EDTX00033900-05
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     33.        Verification of DDR5 SODIMM Products, bearing bates numbers SAM-
                NET00330273-80
     34.        Verification of DDR5 UDIMM Products, bearing bates numbers SAM-
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     35.        Samsung Module Handling Guide, bearing bates numbers SAM-
                NET00347077-85
     36.        Excerpts from Netlist’s Second Supplemental Disclosure of Asserted Claims
                and Infringement Contentions, served October 10, 2022
     37.        Excerpts from Netlist’s Disclosure of Asserted Claims and Infringement
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 I.       INTRODUCTION

          The parties agree that Netlist granted Samsung a license to the asserted patents as part of

 a “Joint Development and License Agreement” (“JDLA”) before filing this suit.1 Ex. 1. As the

 Court is aware, there remains a dispute about whether Netlist permissibly terminated that license

 on July 15, 2020, which is the subject of appeal before the Ninth Circuit. But days before the

 close of fact discovery, Netlist disclosed for the first time its remarkable assertion that, even

 before the license was terminated, the license did not cover the accused products in this case.

 Instead, Netlist asserts

                       . Leaving aside for a moment whether Netlist should be even permitted to

 make this late assertion, Netlist’s newly concocted position is frivolous on its face. By its

 expressed terms, the license covers

                                                                                        and Netlist

 has again and again confirmed its long held view that the license grant means what it says—it

 covers all semiconductor products, including the accused products in this case.

          Netlist has, for example, previously asserted to the International Trade Commission in its

 case against SK hynix that “Samsung is authorized by cross-license to sell RDIMMs and

 LRDIMMs,” which are both accused in this case. Ex. 2 at 3. Indeed, in the CDCA Case relating

 to the JDLA, Netlist vigorously argued that the JDLA’s license provision is not narrowly limited

 to the joint development project, a position Netlist now abandons—after convincing the CDCA

 Court to adopt it. Ex. 3 at 5 (arguing the court should not “import an implied limitation into

 Section 6.2 [that limits this section to only the joint development project] that concededly does

 not exist in other provisions” such as “Section 8 (the grant of patent licenses)”); Ex. 4 at 114-15


    Herein, “Netlist” means plaintiff Netlist, Inc., and “Samsung” means defendants Samsung
      1

 Electronics Co., Ltd., Samsung Electronics America, Inc. and Samsung Semiconductor, Inc.
                                                   1
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 (Netlist disputing proposed statement of fact “to the extent that Samsung characterizes this quote

 as suggesting that the patent license overall was limited to the parties’ ‘joint research and

 development’”); Ex. 5 at 9 (“§ 8 [of the JDLA] governs intellectual property licenses

 unrestricted to use on the NVDIMM-P development project.”);2 see also Ex. 6 at NL048993

 (

                                  ).

             Thus, when it sued Samsung in CDCA, Netlist confirmed the proper scope of the

 agreement but here it seeks to shed the clear language of the agreement and its prior inconsistent

 positions in the hopes the Court will let the jury hear an elevated damages case that clearly and

 improperly captures licensed sales. The Court should grant summary judgment in favor of

 Samsung to establish that Samsung’s license under the JDLA covered all accused products. As a

 result, Netlist can recover no damages before July 15, 2020 (the date the CDCA Court

 determined that Netlist had terminated the JDLA’s license to Samsung).

 II.         STATEMENT OF ISSUES

                    Is the scope of Samsung’s license under the JDLA limited to products of the joint

 development project (i.e., Developed Products, in the language of the JDLA) or does it

 encompass all Samsung semiconductor products, except foundry products (i.e., Samsung’s

 Licensed Products, in the language of the JDLA)?

                    Do all the accused products in this case meet the JDLA’s definition of Samsung’s

 Licensed Products and therefore all accused products sold before July 15, 2020 are licensed?




     2
         All emphasis is added unless noted otherwise.
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 III.   STATEMENT OF UNDISPUTED MATERIAL FACTS

        1. Samsung Electronics Co., Ltd. and Netlist entered the JDLA on November 12, 2015.

 Ex. 1 (JDLA) at 1.

        2. The JDLA is governed by New York law. Ex. 1 at § 14.

        3. The JDLA granted Samsung

                                               Id. at § 8.2

        4. The JDLA defines



                                       Id. at 3.

        5. The JDLA defines the

                                                               Id. at 1.

        6. All of the asserted patents in this case are “Netlist’s Licensed Patents” under the

 JDLA because they have an effective filing date before November 12, 2020. See Dkt. No. 23

 (Netlist’s First Am. Compl.) ¶ 50 (Capture Period extends through 11/12/20); id. at ¶¶ 18, 24, 30,

 37, 42-43 (Netlist listing effective filing dates of asserted patents, all before 11/12/20).

        7. The JDLA defines



                                                                           Ex. 1 at 3.

        8. The JDLA defines




                                                Id. at 2.

        9. The accused products in this case are: (1) Samsung’s HBM2, HBM2E, HBM3, and

 newer products with 4 or more stacked DRAM dies for U.S. Patent Nos. 8,787,060 (“ʼ060
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 patent”) and 9,318,160 (“ʼ160 patent”); (2) Samsung’s DDR5 load reduced Dual In-Line

 Memory Modules (“DIMMs”) (“LRDIMMs”),3 registered DIMMs (“RDIMMs”), small-outline

 DIMMs (“SODIMMs”), and unbuffered DIMMs (“UDIMMs”) for U.S. Patent Nos. 11,016,918

 (“ʼ918 patent”) and 11,232,054 (“ʼ054 patent”); and (3) Samsung’s DDR4 LRDIMMs for U.S.

 Patent Nos. 10,860,506 (“ʼ506 patent) and 10,949,339 (“ʼ339 patent”). See Dkt. No. 23

 (Netlist’s First Am. Compl.) at ¶ 54 (defining Accused Instrumentalities); Ex. 8 at 3-4 (listing

 accused products); see also Ex. 9 at 38 (listing accused HBM products); Ex. 10 at Ex. A at 43

 n.40 (defining the “Accused Samsung DDR4 LRDIMMs” as those listed in Ex. 1 to Ex. A of his

 report); id. at Ex. B at 47 (defining the “Accused Samsung DDR5 DIMMs” as “unbuffered

 DIMMs (‘UDIMMS’), small-outline DIMMS (‘SODIMMS’), registered DIMMS (‘RDIMMS’),

 and load reduced dual in-line memory modules (‘LRDIMMs’)”).

        10. The accused products in this case are all Samsung semiconductor products. See Ex.

 11 at SAM-NET00407116 (listing DRAM as type of semiconductor product); Dkt. No. 23

 (Amended Complaint) at ¶ 5 (Netlist characterizing the accused products as “semiconductor

 products”).

        11. In 2017, Netlist filed an action in the International Trade Commission (“ITC”) against

 SK hynix, where it admitted in its “Statement of Public Interest” that “Samsung is authorized by

 cross-license to sell RDIMMs and LRDIMMs.” Ex. 2 at 3.

        12.




   3
    To date,                                                     Ex. 7 at 93:7-11; see also id. at
 33:8-34:15.
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          13. On May 28, 2020, Netlist sued Samsung Electronics Co., Ltd. in the Central District

 of California for alleged breach of the JDLA. See Netlist Inc. v. Samsung Electronics Co., Ltd.,

 No. 8:20-cv-00993-MCS (C.D. Cal.) (“CDCA Case”).

          14. On July 15, 2020, Netlist sent Samsung a letter purporting to terminate the JDLA

 “effective immediately.” Ex. 13.

          15. On October 14, 2021, the district court in the CDCA Case (“CDCA Court”) granted

 summary judgment that Netlist terminated the JDLA, effective July 15, 2020, after Netlist argued

 the same. Ex. 5 at 18; Ex. 14 at 11.

          16. The CDCA Court reached its decision based in part on its interpretation that the

 parties’ patent cross-licenses are not limited to the joint development project, after Netlist argued

 the same. Ex. 5 at 9 (court finding “§ 8 [of the JDLA] governs intellectual property licenses

 unrestricted to use on the NVDIMM-P development project”); Ex. 3 at 5 (Netlist arguing the

 same).

          17. The CDCA Court entered final judgment on February 15, 2022, which includes a

 declaration that Netlist terminated the JDLA on July 15, 2020. See Ex. 15.

          18. The parties cross-appealed to the Ninth Circuit, where those appeals are fully briefed

 and awaiting oral argument. See Netlist Inc. v. Samsung Elecs. Co., Ltd., Nos. 22-55209, 22-

 55247 (9th Cir.) (“Ninth Circuit Appeal”).4




   4
    Samsung is appealing the judgment that Samsung materially breached the JDLA, and whether
 Netlist properly terminated the JDLA.
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        19.      The accused products in this case all embody Samsung’s own designs. See Ex. 16

 at 35:24-36:2




                   ); Ex. 18 (Samsung HBM Flarebolt, Flashbolt, Aquabolt, Icebolt datasheets);

 Ex. 19 at 93:15-25




                                   Ex. 21 at SAM-NET00521856 (showing development timeline

 for Samsung DDR5 products); Ex. 22 (DDR5 RDIMM, SODIMM, UDIMM datasheets); Ex. 23

 (PMIC datasheets); Ex. 24 at 7:11-8:2 (stating Samsung DRAM Solution team designs DDR4

 LRDIMM products); Ex. 25 at 53:4-15

                            ; Ex. 26 (DDR4 LRDIMM datasheets); Ex. 25 at 17:15-25

                                                                                .

        20. Netlist’s experts have admitted that Samsung designed the accused products. Ex. 9,

 at ¶¶ 389-90 (stating that “Samsung . . . designed and manufactured” the HBM products accused



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 of infringing the ʼ060 and ʼ160 patents); Ex. 10 at Ex. A, ¶ 335 (stating Samsung “designed” the

 products accused of infringing the ʼ506 and ʼ339 patents); id. at Ex. B, ¶¶ 483 (stating Samsung

 “designed” the products accused of infringing the ʼ918 and ʼ054 patents). Netlist adopted these

 admissions as its own. Ex. 27 at 38 (“Netlist incorporates by reference the expert report(s) that it

 will serve in accordance with the Court’s Docket Control Order[.]”); id. at 42 (same); id. at 45

 (Netlist “incorporates by reference technical reports that it will serve in accordance with the

 Court’s Docket Control Order.”).

        21. Samsung sells all the accused HBM products as its own products. See Ex. 18

 (Samsung Flarebolt, Flashbolt, Aquabolt, Icebolt datasheets); Ex. 28 (Flashbolt webpage);

 https://semiconductor.samsung.com/dram/hbm/hbm2e-flashbolt/ (describing Samsung-branded

 HBM memory, including specific models); Ex. 29 (Flarebolt webpage);

 https://semiconductor.samsung.com/dram/hbm/hbm2-flarebolt/ (describing Samsung-branded

 HBM memory, including specific models); Ex. 30 (Aquabolt webpage);

 https://semiconductor.samsung.com/dram/hbm/hbm2-aquabolt/ (describing Samsung-branded

 HBM memory, including specific models); Ex. 31 (Icebolt webpage);

 https://semiconductor.samsung.com/dram/hbm/hbm3/ (describing Samsung-branded HBM

 memory, including specific models).

        22. Samsung sells all the accused DDR5 products as its own products. See Ex. 22

 (DDR5 RDIMM, SODIMM, UDIMM datasheets); Ex. 23 (PMIC datasheets); Ex. 32 at SAM-

 NET00363675-76 (showing Samsung-branded DDR5 RDIMM products); Ex. 33 at SAM-

 NET00330279 (showing Samsung-branded DDR5 SODIMM products); Ex. 34 at SAM-

 NET00363724 (showing Samsung-branded DDR5 UDIMM products);

 https://semiconductor.samsung.com/dram/ddr/ddr5/ (describing Samsung-branded DDR5



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 memory, including specific models).

        23. Samsung sells all the accused DDR4 LRDIMM products as its own products. See Ex.

 26 (DDR4 LRDIMM datasheets); Ex. 35 at SAM-NET00347078 (depicting Samsung-branded

 DDR4 LRDIMM memory); https://semiconductor.samsung.com/dram/ddr/ddr4/ (describing

 Samsung-branded DDR4 memory, including specific models).

        24. Netlist’s infringement contentions and infringement expert reports exclusively target

 products sold as Samsung products and identify no product produced for a third party and sold

 under a third party’s name. See Undisputed Material Fact ¶ 9; Ex. 36 at Ex. E, at 1 (referring to

 Samsung webpages for information about accused HBM products); id. at Ex. F, at 1 (same); id.

 at Ex. E, at 2-6 (showing Samsung’s marketing of the accused HBM products as Samsung

 products); id. at Ex. F, at 2-6 (same); id. at Ex. C, at 1 (“Examples of Samsung DDR5 DIMMs

 products . . . can be found via Samsung’s module-selector page.”); id. at 4 (showing Samsung-

 branded DDR5 products); id. at Ex. D, at 1 (“Examples of Samsung DDR5 DIMMs products . . .

 can be found via Samsung’s module-selector page.”); id. at 7-8 (showing Samsung-branded

 DDR5 products); Ex. 37 at Ex. A, at 1 (referring to Samsung’s module-selector page for DDR4);

 id. at 2 (showing Samsung-branded DDR4 LRDIMM products); id. at Ex. B, at 1 (“Examples of

 Samsung DDR4 LRDIMM products . . . can be found via Samsung’s module-selector page.”);

 id. at 3 (showing Samsung-branded DDR4 LRDIMM products); Ex. 9 at 38 (identifying only

 Samsung products as accused products); id. at 114-15 (referring to Samsung’s websites for its

 Samsung-branded Flashbolt, Icebolt, Aquabolt, and Flarebolt products); Ex. 10 at Ex. B, at 47

 (“There are four types of Samsung Double Data Rate 5 (“DDR5”) Dial In-Line Memory

 Modules (“DIMMs”) at issue in this action . . . .”); id. at 60-67 (depicting Samsung-branded

 products); id. at Ex. A, at 42-44 (referring to Samsung DDR4 LRDIMM datasheets); id. at 43



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 n.40 (defining the “Accused Samsung DDR4 LRDIMMs”).

         25. Netlist has adduced no evidence that any of the accused products are Foundry

 Products as defined by the JDLA. During discovery in this case, Samsung propounded

 Interrogatory No. 16 asking Netlist to “describe in complete detail the factual basis underlying”

 any contention “the Accused Products were not licensed products” under the JDLA. Ex. 38 at 7.

 In response, Netlist stated that




         26. The accused products are all “Samsung’s Licensed Products” under the JDLA. Ex. 1

 at 2-3, 8.

 IV.     GOVERNING LAW

          “Contract interpretation is a question of law generally amenable to summary judgment.”

 Authentic Apparel Grp., LLC v. U.S., 989 F.3d 1008, 1014 (Fed. Cir. 2021) (internal quotations,

 citations omitted). The JDLA is governed by New York law, which provides that contract

 interpretation follows a two-step process. Courts first determine “[w]hether a contract is

 ambiguous” as “a question of law.” S. Road Assocs., LLC v. IBM Corp., 4 N.Y.3d 272, 278

 (2005). If the contract is unambiguous, then a court must “enforce[] [it] according to its terms.”

 Beal Sav. Bank v. Sommer, 8 N.Y.3d 318, 324 (2007). Where a contract is “ambiguous,”

 however, “[e]xtrinsic evidence of the parties’ intent may be considered.” Greenfield v. Philles

 Records, Inc., 98 N.Y.2d 562, 569 (2002).

         Issue preclusion, also called collateral estoppel, is relevant here in light of the

 inconsistent positions Netlist has taken. The Federal Circuit analyzes issue preclusion “under the

 law of the regional circuit.” Transocean Offshore Deepwater Drilling, Inc. v. Maersk Contrs.

 USA, Inc., 617 F.3d 1296, 1311 (Fed. Cir. 2010). In the Fifth Circuit, “[i]ssue preclusion applies
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 when (1) the identical issue was previously adjudicated; (2) the issue was fully and fairly

 litigated; (3) the determination of the issue was necessary to the resulting judgment; and (4) there

 must be no special circumstance that would render preclusion inappropriate or unfair.” Chrimar

 Sys., Inc. v. Adtran, Inc., No. 6:15-CV-618-JRG-JDL, 2017 WL 131587, at *1 (E.D. Tex. Jan.

 13, 2017) (citing State Farm Mut. Auto. Ins. Co. v. LogistiCare Sols., LLC, 751 F.3d 684, 689

 (5th Cir. 1994)). Notably, a final district court judgment gives rise to issue preclusion even

 pending appeal. See DietGoal Innovations LLC v. Chipotle Mexican Grill, Inc., 70 F. Supp. 3d

 808, 812 (E.D. Tex. 2014) (“Importantly, the collateral estoppel effect of a prior district court

 decision is not affected by the fact that an appeal has been taken from the decision.” (citing

 cases)).

        Judicial estoppel is also relevant because Netlist prevailed in court based on its previous

 positions. “A court should apply judicial estoppel if (1) the position of the party against which

 estoppel is sought is plainly inconsistent with its prior legal position; (2) the party against which

 estoppel is sought convinced a court to accept the prior position; and (3) the party did not act

 inadvertently.” Jethroe v. Omnova Sols., Inc., 412 F.3d 598, 600 (5th Cir. 2005).

 V.     ARGUMENT

        A.      Netlist Licensed All of the Accused Samsung Products Under the JDLA

        Under the plain language of the JDLA, Netlist granted Samsung a patent license for all of

 Samsung’s semiconductor products, including the memory products at issue in this case. The

 only possible exception—for foundry products—is not at issue. See Section V.B., infra.

 However, Netlist suggested near the close of fact discovery that Samsung’s patent license is

 limited to joint development project. This assertion is wrong as a matter of law, based on the

 plain language of the JDLA contract. The Court also should reject Netlist’s new argument based

 on issue preclusion and judicial estoppel, as detailed below.
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                 1.      Under New York Law, Samsung’s License Under the JDLA Covers
                         All Semiconductor Products Except Foundry Products

         Under the plain language of the JDLA—which is dispositive under governing New York

 law—Samsung’s patent license covers all semiconductor products except foundry products. In

 contrast, Netlist’s suggestion that Samsung’s patent license is limited to the joint development

 project finds no support in the language of the contract.

         Two subjects covered by the JDLA are: a joint development project between Samsung

 and Netlist and a cross-license of the parties’ patents. The title reflects this fact: “Joint

 Development and License Agreement.” Ex. 1 at 1. The structure of the agreement also reflects

 these dual purposes.




                                                        .

         The JDLA’s definitions section also supports the distinction between licensed products

 and products of the joint development project. “Developed Product” is defined as



                                       Ex. 1 at 2. Likewise, “JDP” or “Joint Development Project”

 is defined as




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                                                                           Id. By contrast,

 “Licensed Products” are defined as

                          and “Samsung’s Licensed Products” are defined broadly as



                                                                                          Id. at 2-

 3.

        Most importantly,




 Id. at 8. Therefore, the license provision, by its terms, unambiguously applies to Samsung’s

 Licensed Products and not to only the Developed Product, as Netlist asserts.

        Under New York law, which governs the JDLA (see id. at § 14), an unambiguous

 contract provision, like the license grant here, must be enforced “according to its terms.” Beal, 8

 N.Y.3d at 324. This canon of contract interpretation is consistent with Netlist’s arguments to the

 Ninth Circuit in the pending appeal. For example, Netlist told the Ninth Circuit that “New York

 law counsels the Court to ‘be extremely reluctant to interpret an agreement as impliedly stating

 something which the parties have neglected to specifically include.’” Ex. 39 at 18 (quoting



   5
    Exclusions for foundry products are common in semiconductor agreements. The licensor, on
 the one hand, does not want to inadvertently license products of third parties (that are designed
 by such parties and that are so branded) that happen to be made by the licensee; the licensee, on
 the other hand, while ensuring its own products are licensed, does not have the same concerns
 with respect to products of third parties that it did not design and do not carry the licensee’s
 brand.
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 Ashwood Capital, Inc. v. OTG Mgmt., Inc., 948 N.Y.S.2d 292, 297 (App. Div. 2012)). Netlist

 also asserted that “‘courts may not by construction add or excise terms, nor distort the meaning

 of those used and thereby make a new contract for the parties under the guise of interpreting the

 writing.’” Id. (quoting Ashwood Capital, 948 N.Y.S.2d at 297).

         This Court should thus grant summary judgment that Samsung’s license extends to all

 semiconductor products (except Foundry Products as defined in the JDLA), and is not limited to

 the joint development project (i.e., in the language of the contract, Developed Products).

                 2.     Issue Preclusion and Judicial Estoppel Bar Netlist’s New Argument

         The Court should bar Netlist’s new argument that Samsung’s patent license should be

 limited to the parties’ NVDIMM-P joint development project under principles of issue preclusion

 and judicial estoppel. In the CDCA Case, Netlist argued that the cross-licenses of Section 8 of

 the JDLA are not limited to the joint development project because that interpretation suited

 Netlist’s interests at the time. In particular, Netlist argued that the supply provision in Section

 6.2 is not limited to the joint development project, just like Section 8, the grant of patent licenses

 is not so limited:

                 Samsung does not argue that the entire JDLA relates strictly to the parties’
         joint development efforts—conveniently, only Section 6.2 is purportedly so
         limited. Samsung even admits that ‘the main purpose of the JDLA was patent
         licensing,’ which should be construed ‘broad[ly].’ Samsung provides no reason
         for the Court to import an implied limitation into Section 6.2 that concededly
         does not exist in other provisions in that same contract—whether it be Section 7
         (the parties’ mutual release of claims), Section 8 (the grant of patent licenses), or
         Sections 1 and 13.1 . . . .

 Ex. 3 at 5 (internal citation omitted); see also id. at 17 (Netlist “agreeing with Samsung” that

 “the main purpose of the JDLA was patent licensing” and “the licenses are broad” (original

 emphasis)); Ex. 4 at 114-15 (Netlist disputing proposed statement of fact “to the extent that

 Samsung characterizes this quote as suggesting that the patent license overall was limited to the


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 parties’ ‘joint research and development’”).

        These arguments were successful. The CDCA Court entered summary judgment in

 Netlist’s favor because it agreed with Netlist’s argument that the license provision was not

 limited to the joint development project: “§ 8 [of the JDLA] governs intellectual property

 licenses unrestricted to use on the NVDIMM-P development project. The coexistence of

 project-specific provisions and project-nonspecific provisions signals that the parties intended

 not to restrict the NAND and DRAM supply obligation to the NVDIMM-P project by omitting

 any mention of it in § 6.2.” Ex. 5 at 9. The court’s acceptance of Netlist’s argument that the

 licenses of Section 8 are not limited to the joint development project means that Netlist’s new

 argument here is barred by both issue preclusion and judicial estoppel.

        First, all of the elements of issue preclusion are present: (1) the identical issue was

 previously adjudicated; (2) the issue was fully and fairly litigated; (3) the determination of the

 issue was necessary to the resulting judgment; and (4) there must be no special circumstance that

 would render preclusion inappropriate or unfair. See Chrimar Sys., 2017 WL 131587, at *1.

 The issue at hand—scope of the JDLA’s patent license—was fully and fairly litigated in the

 CDCA Case because Netlist argued that a broad patent license, not limited to the joint

 development project, supported its argument that Samsung’s supply obligation was also not

 limited to the joint development project. Furthermore, the district court accepted this argument

 and expressly cited it as a basis for granting Netlist’s motion for summary judgment, thus

 making determination of the issue necessary to the resulting judgment. Ex. 5 at 9. Samsung

 disagrees that its supply obligation extended beyond the joint development project, and has

 appealed this issue to the Ninth Circuit. Of course, Samsung has never taken the position that

 the license was limited to the joint development project, which would be contrary to the plain



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 language of the agreement. Finally, there are no special circumstance here that would render

 preclusion inappropriate or unfair, especially given how Netlist benefited from the resolution of

 this issue in the CDCA Case. Indeed, the CDCA Court’s final judgment in Netlist’s favor is

 binding on Netlist even pending appeal. DietGoal, 70 F. Supp. 3d at 812. Netlist, therefore, may

 not argue that the cross-licenses of Section 8 of the JDLA are limited to the joint development

 project.

        Judicial estoppel requires the same result “to protect the judicial system.” Jethroe, 412

 F.3d at 600. All of the elements are again satisfied: (1) Netlist’s position is plainly inconsistent

 with its prior legal position; (2) Netlist convinced the CDCA Court to accept the prior position;

 and (3) Netlist did not act inadvertently. See id. Here, Netlist’s express argument that Section 8

 was not limited to the joint development project was accepted by the CDCA Court, and Netlist

 made this argument deliberately because it helped Netlist obtain summary judgment. This Court

 should hold that Netlist cannot have it both ways.

                3.      Netlist’s Admissions About the License’s Scope Bar Its New Theory

        Netlist’s arguments in the CDCA Case are not the only time Netlist has interpreted

 JDLA’s patent license as covering all Samsung semiconductor products (except foundry

 products), rather than limited to products of the joint development project. For example, long

 before hatching its new theory here, Netlist filed an action in the ITC against SK hynix in 2017,

 and told the ITC in its “Statement of Public Interest” that “Samsung is authorized by cross-

 license to sell RDIMMs and LRDIMMs covered by the asserted patents.” Ex. 2 at 3.

 Furthermore,

                                                                                    Ex. 6 at

 NL048993; see also Ex. 12 at 213:13-214:12 (Rule 30(b)(6) witness

                                                                    ). These earlier interpretations
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 are completely in accord with the unambiguous language of the license grant in the JDLA and

 inconsistent with the new position taken by Netlist here.

                  4.    The Korean Tax Decision Cited by Netlist Does Not Support a
                        Contrary Result

        Faced with the unambiguous language in the JDLA and its own admissions, Netlist seeks

 solace in a decision by a Korean Tax Tribunal. On December 19, 2022, Netlist added the

 following statement to its supplemental response to Samsung’s interrogatory asking for any

 bases for alleging willful infringement—notably, not in response to Samsung’s licensing defense

 interrogatory:

                                                                                 Ex. 27 at 27; see

 also Dkt. No. 140 at 1 n.1.

        That Korean tax tribunal decision (Ex. 41) is irrelevant to the present motion, most

 notably because it relies on Korean tax law rather than New York contract law, see, e.g., id. at

 17-21 (referring to related laws), and Samsung was not even a party to the proceeding, id. at 1

 (“Appellant: Netlist, Inc”). Even the decision’s discussion of the license, which is dicta, does

 not purport to redefine Samsung’s Licensed Products as limited to the joint development project,

 but rather acknowledges one instance,                                           where the license

 would apply. Id. at 22-23, 27-29. In any event, the sparse record regarding the Korean tax

 decision makes it unsuitable for consideration by this Court. See Burns, Morris & Stewart Ltd.

 P’ship v. Masonite Int’l Corp., 401 F. Supp. 2d 692, 698 (E.D. Tex. 2005) (declining to consider

 incomplete evidence of a foreign proceeding “without a complete presentation of such evidence,

 nor a complete understanding of what happened before the foreign body and why that was




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 important under foreign law”).6

        Accordingly, this Court should disregard the Korean tax ruling as inadmissible hearsay

 and irrelevant to interpretation of the JDLA under New York contract law.

                                                * * *

        The Court should enter summary judgment that Samsung’s license in Section 8.2 of the

 JDLA covers all semiconductor products (except Foundry Products as defined in the JDLA).

        B.      All of the Accused Products Are Licensed—None Are Foundry Products

        All of the asserted patents are subject to the JDLA’s license. The JDLA defines “Netlist

 Licensed Patents” as those

                                                  which extends through November 12, 2020. See

 Ex. 1 at 1 (defining “Effective Date,” “Capture Period”); id. at 3 (defining “Netlist’s Licensed

 Patents”); Dkt. No. 23 (Netlist’s First Am. Compl.) ¶ 50 (stating Capture Period extends through

 11/12/20). Here, the asserted patents all have an effective first filing date before November 12,

 2020. Dkt. No. 23 (Netlist’s First Am. Compl.) at ¶¶ 18, 24, 30, 37, 42-43 (Netlist listing

 effective filing dates of asserted patents, all before 11/12/20).

        Because all of the accused products are Samsung semiconductor products, see

 Undisputed Material Fact ¶ 9, they fall within the scope of the JDLA’s license unless they meet

 the definition of Foundry Product in the JDLA. Ex. 1 § 8.2 (defining Samsung’s Licensed

 Products). There is no genuine issue of material fact that none of the accused products are

 Foundry Products.




   6
    Netlist, the party affirmatively relying on the Korean tax decision, notably did not serve an
 expert report from a Korean law expert qualified to opine about the context and content of this
 foreign decision. Netlist’s damages expert, David Kennedy, is not qualified to opine about it.
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        The JDLA defines a Foundry Product as




                Ex. 1 at 2. Under this definition, any accused product that is based on designs,

 specifications, or working drawings of Samsung is not a Foundry Product. In addition, any

 accused product that Samsung sells                        i.e., as a Samsung-branded product, is

 not a Foundry Product. Here, the accused products all embody Samsung’s own designs, and

 Samsung sells all the accused products as its own products.

        First, the accused products are designed by Samsung rather than any third parties. See

 Undisputed Material Fact ¶ 19 and supporting evidence. Indeed, Netlist’s infringement experts

 affirmatively state that Samsung designed the accused products. Ex. 9, at ¶¶ 389-90 (stating that

 “Samsung . . . designed and manufactured” the HBM products accused of infringing the ʼ060 and

 ʼ160 patents); Ex. 10 at Ex. A, ¶ 335 (stating Samsung “designed” the products accused of

 infringing the ʼ506 and ʼ339 patents); id. at Ex. B, ¶ 483 (stating Samsung “designed” the

 products accused of infringing the ʼ918 and ʼ054 patents). Netlist adopted these positions in its

 interrogatory responses. Ex. 27 at 38




                                    Therefore, Netlist is bound by these admissions that Samsung,

 rather than a third party, designed all the accused products. The undisputed evidence that

 Samsung designed all the accused products alone entitles Samsung to summary judgment that

 the accused products are not Foundry Products and, therefore, meet the JDLA’s definition of

 Samsung’s Licensed Products.



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         There is a second, independent basis to enter judgment that the accused products are not

 Foundry Products—Samsung sells the accused products as its own products. See Undisputed

 Material Fact ¶¶ 21-23 and supporting evidence. In addition, when Netlist identified the accused

 products in its infringement contentions, it listed only Samsung-branded products. See

 Undisputed Material Fact ¶ 24. Likewise, Netlist’s technical experts analyzed only Samsung-

 branded products. Id. The deadline for amending Netlist’s infringement contentions to identify

 other products—e.g., products allegedly sold by Samsung not “as its own” and under a third

 party’s brand—has long past. Dkt. No. 34 (DCO setting deadline for infringement contentions

 for May 4, 2022); P.R. 3-1 (requiring identification of accused products). Accordingly, the

 universe of accused products in this case are those sold under Samsung’s brand—i.e., products

 that Samsung sold to others as its own products.

         Despite failing to identify any accused product that allegedly meets the JDLA’s definition

 of Foundry Product in response to Samsung’s interrogatory seeking such information, see Ex. 38

 at 7-9,7 Netlist’s opposition to Samsung’s motion to stay references a description of “Samsung

 HBM2 Foundry Services.” See Dkt. No. 85 at 8; Dkt. No. 85-23 at 6-7. Even if it were proper

 to rely on this description, it is facially irrelevant because it simply discusses a service that

 Samsung’s Foundry division can provide to companies that design logic chips (e.g., processors).

 Samsung’s foundry business for processor logic chips is well-known. This documents describes

 how the Foundry division can manufacture logic chips of a third party’s design and package



   7
     A party must respond to all interrogatories regardless of whether it ultimately bears the
 burden of proof on an issue. See Lozada-Leoni v. MoneyGram Int’l, Inc., 2020 WL 10046089, at
 *8 (E.D. Tex. July 8, 2020) (“A party served with written discovery must fully answer each
 interrogatory or document request to the full extent that it is not objectionable[.]”). Accordingly,
 Netlist is bound by its failure to identify any product it contends is a Foundry Product under the
 JDLA and it is too late now, after the close of fact discovery, to supplement its interrogatory
 response on this issue.
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 them with Samsung’s HBM2 memory. Dkt. No. 85-23 at 6 (stating Samsung Foundry provides

 to “logic chip design companies” “[a]dvanced process chip manufacturing” and “PKG

 [packaging] service including 2.5D + HBM2”). Figure 1, entitled “HBM & 2.5D Structure,”

 depicts the special 2.5D packaging used when packaging logic chips with Samsung’s HBM

 memory. Id. at 3. Nothing in this document says that Samsung will manufacture HBM using a

 third party’s design for this type of memory—let alone the HBM products accused in this case.

 Nor does it raise a genuine issue of material fact that the actual accused products—all designed

 by Samsung and sold as Samsung’s own products—are not Foundry Products as defined in the

 JDLA.

         There is no genuine factual dispute that the accused products do not meet the JDLA’s

 definition of Foundry Products. Therefore, the Court should enter summary judgment that the

 accused products are all “Samsung’s Licensed Products” under the JDLA.

         C.     Netlist May Seek No Damages Prior to July 15, 2020

         The reason Netlist seeks to circumvent the clear language of the JDLA’s license and

 Netlist’s own prior interpretation of that license is clear: to inflate its damages claim by

 improperly capturing licensed sales. Specifically, Netlist seeks damages through trial over the

 following time periods:




 Ex. 40 at 133-135.8




   8
    Samsung is moving herewith to strike the opinion of Netlist’s expert, David Kennedy, where
 he offers damages analysis based on sales of HBM products prior to July 15, 2020.
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        Specifically, Samsung’s license began on November 12, 2015, the JDLA’s Effective

 Date. Ex. 1 at 1. The CDCA Court granted Netlist’s motion for summary judgment that it had

 properly terminated the JDLA on July 15, 2020, Ex. 5 at 18, 20-21, and entered judgment on

 Netlist’s claim for declaratory relief on the issue, Ex. 15.9 Therefore, all the accused products

 sold before July 15, 2020 are licensed and Netlist may collect no damages on such products.

 FireBlok IP Holdings, LLC v. Hilti, Inc., No. 2:19-cv-00023-RWS-RSP, 2020 WL 1899620, at

 *3 (E.D. Tex. Jan. 20, 2020) (“A patentee is barred from seeking damages for a party’s use or

 sale of a product that the patentee has already licensed.”).

 VI.    CONCLUSION

        Samsung respectfully requests that the Court enter summary judgment that all Samsung

 accused products are licensed under the JDLA, and as a result Netlist may recover no damages

 for sales before July 15, 2020.




   9
     Samsung contends that Netlist never properly terminated the JDLA. This issue is pending in
 the Ninth Circuit Appeal. If the Ninth Circuit reverses the CDCA Court’s judgment, the
 immediate effect of such a decision would render all of Samsung’s accused products licensed
 perpetually, such that Netlist may not maintain the present suit against Samsung. Given the
 constraints of issue preclusion, DietGoal, 70 F. Supp. 3d at 812, Samsung does not seek
 summary judgment, at this time, on its license defense for products sold after July 15, 2020. Of
 course, in the event of reversal, the post-July 15, 2020 sales all would be licensed for the same
 reasons set forth herein but Samsung will formally address this issue once the Ninth Circuit
 rules.
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 Date: February 3, 2023              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed

 electronically in compliance with Local Rule CV-5 on February 3, 2023. As of this date, all

 counsel of record have consented to electronic service and are being served with a copy of this

 document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A) and by email.


                                                     /s/ Lauren A. Degnan




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